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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA         :     21-mj-06044-DEA

            vs.                   :     ORDER APPOINTING FEDERAL
                                             PUBLIC DEFENDER
JARED FAIRCLOTH                  :




      The financial inability of the defendant to retain counsel

having been established by the court, and the defendant not

having waived the appointment of counsel, and for good cause

shown;   it is on this 27th day of October, 202,

      ORDERED that the Federal Public Defender Organization

for the District of New Jersey is hereby appointed to represent

said defendant in this cause, for the purposes of today’s hearing,

until further order of this court.




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cc:   Federal Public Defender
